






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00790-CV







Aramark Management Services Limited Partnership, Appellant




v.




The Brown Schools Management Corporation, Appellee








FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT


NO. GN402895, HONORABLE DARLENE BYRNE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




	The Court has been notified that The Brown Schools Management Corporation filed
for bankruptcy March 25, 2005 (cause number 05-10842, U.S. Bankruptcy Court, District of
Delaware).  Accordingly, the appeal is now abated based on the bankruptcy stay. (1)  See 11 U.S.C.
§&nbsp;362; Tex. R. App. P. 8.2.  The case may be reinstated on proper motion.  Tex. R. App. P. 8.3.  It
is the responsibility of the parties to notify the Court immediately once the automatic stay is lifted
or any other event occurs which could cause the reinstatement of the case.



					                                                                                     

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   May 26, 2005
1.        This appeal was previously abated until May 20, 2005, based on the parties' agreed motion. 
Aramark Mgmt. Servs. Ltd. P'ship v. The Brown Schs. Mgmt. Corp., No. 03-04-790-CV (Tex.
App.--Austin Feb. 22, 2005) (mem. op.).


